
22 So.3d 833 (2009)
Leslie V. McMILLAN, Appellant,
v.
DEPARTMENT OF BUSINESS AND PROFESSIONAL REGULATION, etc., Appellee.
No. 3D08-3002.
District Court of Appeal of Florida, Third District.
November 25, 2009.
Leslie V. McMillan, in proper person.
Garnett W. Chisenhall, Tallahassee, for appellee.
Before GERSTEN and SUAREZ, JJ., and SCHWARTZ, Senior Judge.
PER CURIAM.
Affirmed. See Shojaie v. Gables Court Prof'l Ctr., Inc., 974 So.2d 1140, 1141-42 (Fla. 3d DCA 2008) (holding that employee failed to provide the appellate court with a record sufficient to review the matter on appeal, requiring affirmance); Mendez v. Fla. Dep't of Health, 943 So.2d 909, 911 (Fla. 1st DCA 2006) ("The Board's imposition of a penalty is reviewed under an abuse of discretion standard.").
